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                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

NANCY LUGO,                                     CIVIL ACTION

        Plaintiff,                              Case No. 4:14-cv-262
v.

UNITED STATES OF AMERICA and
CORRECTIONS OFFICER CORLIS
MICHAEL RANEW,

        Defendants.


                 COMPLAINT AND DEMAND FOR JURY TRIAL

     Plaintiff sues Defendants and alleges as follows:

                                       Jurisdiction

 1.     This Court has jurisdiction of this civil action under 28 U.S.C. §§1331 and 1346

        and Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S.

        388 (1972) and 28 U.S.C. §2671, et. seq., Federal Tort Claims Act.

 2.     Plaintiff filed a claim under the Federal Tort Claims Act June 5, 2013 (attached

        as Exhibit A), which claim was responded to without action December 5, 2013

        (attached as Exhibit B).

 3.     Plaintiff has exhausted her administrative and obtained the relief that the

        administrative remedies could afford.

 4.     Plaintiff has otherwise performed all acts precedent to bringing this suit or such

        acts have been waived.
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                                       Parties

5.   At all times material hereto, Plaintiff NANCY LUGO was a federal prisoner

     confined in FCI Tallahassee, in Tallahassee, Florida, which facility is within the

     Northern District of Florida.

6.   At all times material hereto, Defendant CORLIS MICHAEL RANEW was a

     correctional officer at FCI Tallahassee, which facility is within the Northern

     District of Florida. Defendant Ranew acted within the course and scope of his

     employment and under color of law.

7.   At all times material hereto, Defendant UNITED STATES OF AMERICA

     owned and operated a corrections facility known as FCI Tallahassee and were

     the employers of Defendant CORLIS MICHAEL RANEW.

                          Common Allegations of Fact

8.   During the year 2012, Plaintiff NANCY LUGO was an inmate at FCI

     Tallahassee, federal corrections facility under the care and custody of that

     facility and was a person to whom Defendants owed a duty of care.

9.   In March 2012, Defendant CORLIS MICHAEL RANEW was a corrections

     officer with duties that involved the care and custody of Ms. Lugo.

10. On at least three occasions in March of 2012, Defendant Ranew took

     advantage of his authority over Lugo to have sexual intercourse with her.

11. In the course of his abuse of Ms. Lugo, he conveyed threats to Ms. Lugo that

     he had the power to harm her if she failed to cooperate or reported the abuse.
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12. Ms. Lugo was unable, by reason of her status as a prisoner to resist Ranew’s

    predatory behavior and was initially afraid to report it for fear of retaliation.

13. On one occasion, Nancy Lugo was able to retrieve the condom Ranew used.

14. On another occasion, Nancy Lugo preserved semen on her underwear.

15. FCI Tallahassee Security Chief George Williams was already investigating

    Ranew for sexual misconduct and knew he was actively abusing inmates.

16. Williams was aware that Ranew was a sexual predator prior to his abuse of

    Lugo but permitted him to continue his predatory behavior.

17. During the time when Williams was aware of Ranew’s predatory behavior, he

    took no action to protect Lugo or other inmates from Ranew.

18. When Nancy Lugo felt she had adequate evidence of the abuse against her, she

    came forward with the evidence of abuse.

19. Nancy Lugo exhausted the administrative procedures and received all the relief

    the administrative procedures could provide.

20. Defendant Ranew was arrested and convicted of sexually abusing Ms. Lugo and

    one other federal inmate who was abused prior to Ms. Lugo.

21. The acts of the Defendant Ranew violated Plaintiff’s constitutional rights, were

    wrongful as a matter of both federal and Florida law and without justification

    under any applicable federal statute or rule.

22. Defendant Ranew was acting within the course and scope of his employment

    and under color of law at the time of the wrongful acts.
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23. On June 5, 2013, Plaintiff served her claim in writing to the Federal Bureau of

     Prisons, U.S. Department of Justice, for administrative determination. (See

     Exhibit A, attached).

24. Plaintiff subsequently received notice in writing from Southeast Regional

     Counsel, dated December 5, 2013, stating that there had been no decision on

     the Lugo claim and requesting more time. (See Exhibit B, attached) but stating

     that Ms. Lugo was free to commence litigation.

                                 Causes of Action

      I.   Cruel and Unusual Punishment (Eighth Amendment) Ranew

25. Plaintiff re-alleges the Common Allegations as if fully set forth herein.

26. Plaintiff Lugo is entitled to relief against Defendant Ranew because on three

     occasions he violated her Eighth Amendment rights by performing coercive

     sexual acts involving sexual penetration in violation of the Eighth Amendment.

27. Defendant Ranew intended to cause this harmful and offensive contact with

     Nancy Lugo in that the sexual acts were deliberate and in that Ranew conveyed

     threats to Lugo in the course of the sexual acts.

28. The rape of plaintiff by Defendant Ranew was accomplished under color of

     law and subjected and caused Plaintiff to be deprived of rights, privileges or

     immunities secured by the Eighth Amendment to the U.S. Constitution.
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 29. Severe and repeated sexual abuse is not part of the penalty criminal offenders

      pay for their offenses against society and constitutes a cognizable claim of cruel

      and unusual punishment under the Eighth Amendment.

 30. As a result of the rape of Plaintiff by Defendant Ranew, Plaintiff suffered

      physical pain and trauma and invasion of her person, suffered and continues to

      suffer great emotional harm, anguish, insecurity, self-revulsion, damage to her

      self-esteem and self-worth, shame and humiliation.

    WHEREFORE, Plaintiff seeks compensatory and punitive damages and costs

against Defendant RANEW, and such other relief as justice may require.

      II.      Federal Tort Claims Act (Negligence) as to the United States

 31. Plaintiff re-alleges the Common Allegations as if fully set forth herein.

 32. Defendant, UNITED STATES OF AMERICA, having a legal duty to Plaintiff,

      an inmate in its care and custody, breached that duty in that it negligently

      operated and managed FCI Tallahassee corrections facility by:

      a. Hiring, retaining and entrusting Defendant Ranew who is, and was known

            or should have been known to defendants to be of such poor moral

            character, temperament, and disposition as to be totally unfit to be hired

            and retained as a corrections officer and placed in charge of the Plaintiff.

      b. Failing to adopt, incorporate and enforce such rules, regulations, policies

            and procedures for the operation and management of the FCI Tallahassee

            corrections facility as would reasonably protect Plaintiff and others detained
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           or incarcerated in the corrections facility from Defendant Ranew or other

           corrections facility employees.

      c. Failing to properly supervise, investigate, and review the operation and

           management of the corrections facility and the activities and performance of

           Defendant Ranew as an employee.

      d. Failing in the course of its investigation of Defendant Ranew’s sexual

           predations to protect other inmates who were being pursued by Ranew.

 33. The negligence of Defendant United States of America was wrongful as a tort

      under the law of Florida and of the United States and without justification

      under any applicable state or federal statute or rule.

 34. As a result of the negligence of Defendant United States of America, Plaintiff

      suffered physical trauma and invasion of her person, suffered and continues to

      suffer great emotional harm, anguish, insecurity, self-revulsion, damage to her

      self-esteem and self-worth, shame and humiliation.

   WHEREFORE, Plaintiff seeks compensatory damages and costs against

Defendant United States of America.

    III.    Federal Tort Claims Act (Battery) as to Defendant United States

 35. Plaintiff re-alleges the Common Allegations as if fully set forth herein.

 36. Plaintiff is entitled to relief against the United States of American because

      Defendant Ranew sexually battered her under the color of law as a law

      enforcement officer of the United States.
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 37. Defendant Ranew performed sexual acts on Plaintiff against her will and

      without her freely-given consent and such acts were wrongful as a tort under

      the law of Florida and of the United States and without justification under any

      applicable state or federal statute or rule.

 38. In committing the rape, Defendant Ranew was acting within the course and

      scope of his employment with Defendant United States of America.

 39. As a result of the rape of Plaintiff by Defendant Ranew, Plaintiff suffered

      physical trauma and invasion of her person, suffered and continues to suffer

      great emotional harm, anguish, insecurity, self-revulsion, damage to her self-

      esteem and self-worth, shame and humiliation.

   WHEREFORE, Plaintiff seeks compensatory damages and costs against

Defendant United States of America.

                                     Prayer for Relief

WHEREFORE, the Plaintiff respectfully seeks judgment as follows:

   A. That the Court assume jurisdiction over this action;

   B. Declare that the acts and omissions described herein violated Plaintiff’s rights

      under the Constitution and Laws of the United States and State of Florida;

   C. Compensatory damages against each of the defendants herein;

   D. Punitive damages against the Individual Defendants under federal law;

   E. A trial by jury on all issues so triable;

   F. Such further relief as the Court deems just and proper.
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                             Respectfully Submitted,

                             s/James V. Cook___________
                             JAMES V. COOK
                             Florida Bar Number 966843
                             Law Office of James Cook
                             314 West Jefferson Street
                             Tallahassee, FL 32301
                             Fax: 850 561-0836

                             RICHARD E. JOHNSON, ESQ.
                             Florida Bar Number 858323
                             MELISSA A. HORWITZ
                             Florida Bar Number 017333
                             Law Office of Richard E. Johnson
                             314 West Jefferson Street
                             Tallahassee, Florida 32301
                             (850) 425-1997; 561-0836 fax

                             Attorneys for Plaintiff
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                CLAIM FOR DAMAGE,                                       INSTRUCTIONS: Please read carefully the instructions on the                         FORM APPROVED
                                                                        reverse side and supply information requested on both sides of this                 OMB NO. 1105-0008
                 INJURY, OR DEATH                                       form. Use additional sheet(s) if necessary. See reverse side for
                                                                        additional instructions.
1. Submit to Appropriate Federal Agency:
                                                                                                     2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                        (See instructions on reverse). Number, Street, City, State and Zip code.
Federal Bureau of Prisons                                                                            Nancy Lugo,        34738-018,       Care of James         V. Cook,     Esq.
Southeast Regional Office                                                                            Law Office of James Cook
3800 Camp            Creek Pkwy S.W., Bldg.               2000                                       314 West Jefferson Street
Atlanta, GA          30331-6226                                                                      Tallahassee, FL 32301
3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH             5. MARITAL STATUS              6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M.)
     D MILITARY D CIVILIAN                10/30/1984                  Single                           M~n 2-o' 2., e:1-.ad                da.\es ()1"1 un \<..
8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
   the cause thereof. Use additional pages if necessary).


See Exhibit A, Basis of Claim, attached.




9.                                                                                PROPERTY DAMAGE
NAME AND ADDRESS OF 0\MIIER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).


n.a.
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).



n .a .

10.                                                                     PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE TI:IE NAMI!.
OF THE INJURED PERSON OR DECEDENT.

See Exhibit B, Nature and Extent of Injury, attached .




11.                                                                                    WITNESSES

                               NAME                                                                  ADDRESS (Number, Street, City, State. and Zip Code)

         See Exhibit C, Witnesses , attached.




12. (See instructions on reverse).                                           AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. V'<RONGFUL DEATH                   12d. TOTAL (Failure to specify may cause
                                                                                                                                           forfeiture of your rights).

                                         5,000,000                                                                                    5,000,000
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
                                                   ...,
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.



I VT~~Jc;~;;;s(j;;~ side).
                                                                                                     13b. PHON E NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE

                                                                                                                                                               05/10/2013
     ,     \......   ~fuAL~F=~TING
                      FRAUDULE IM
                                                                                                                  CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                                                                                                       CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than          Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

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95-109
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Claim for Injury by Nancy Lugo

Exhibit A, Basis of Claim

On at least three occasions during March, 2012, Federal Bureau of Prisons Correctional Officer Corlis
Michael Ranew, committed sexual battery on Nancy Lugo while Ms. Lugo was in the care and custody of
the FBOP. Ms. Lugo retained a condom used by Mr. Ranew and DNA analysis confirmed that Ranew was
the source of the semen in the condom. Mr. Ranew extorted compliance with the sexual acts by threats
and coercion. Administrators at the Bureau of Prisons were aware that Mr. Ranew had been extorting
sex from inmates for several months prior to the time of her injury and did nothing to prevent the injury
to her from occurring. After Ms. Lugo reported the wrongful acts, she was placed in harsh and punitive
conditions of confinement, severely limited in showers and clean clothing, phone calls, and writing
supplies. She was abused and threatened by corrections officers and by other inmates with the
acquiescence and encouragement of corrections officers as a result of having complained of the sexual
abuse by Mr. Ranew. The sexual abuse of Nancy Lugo was part of a pattern of abuse that has taken
place at FCI Tallahassee over many years that has been tolerated and condoned by the administration
and security agency of the Federal Bureau of Prisons with scattered and ineffective efforts to supervise
and control the officers responsible.

Exhibit B, Extent of Injury

Ms. Lugo has suffered physical pain, anxiety, depression, fear, humiliation, loss of opportunities for
family contact, strain in family relationships, oppressive conditions of incarceration. Ms. Lugo has also
suffered severe retaliation by staff and inmates even after being transferred.

Exhibit C, Witnesses

George Williams, Security, FCI Tallahassee, 501 Capital Circle, NE, Tallahassee, FL 32301

Special Agent Van Nimwegen, Atlanta, GA

Corlis Ranew, 7886 Sale Street, Sneads, FL 32460
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